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                    IN THE UNITED STATES DISTRICT c9u T
                         NORTHERN DISTRICT OF TEXAS                   OCT - 5 2018
                             FORT WORTH DIVISION
                                                                CLERK, U.S. DISTRICT COURT
DARYLE RAY PEREZ, ET AL.,               §                        By ---,D"'"e-pu_,ty
                                                                                   _ _ __
                                        §
              Plaintiffs,               §
                                        §
VS.                                     §   NO. 4:17-CV-839-A
                                        §
DEUTSCHE BANK NATIONAL TRUST            §
COMPANY, AS TRUSTEE FOR FIRST           §
FRANKLIN MORTGAGE LOAN TRUST            §
2006-FF9, MORTGAGE PASS-THROUGH         §
CERTIFICATES, SERIES 2006-FF9,          §
ET AL.,                                 §
                                        §
              Defendants.               §



                        MEMORANDUM OPINION AND ORDER

        Came on for consideration the motions of defendants Deutsche

Bank National Trust Company as Trustee for First Franklin

Mortgage Loan Trust 2006-FF9 Mortgage Pass-Through Certificates,

Series 2006-FF9       ("Deutsche Bank") and Specialized Loan Servicing

LLC ("SLS"), and of defendant Bank of America, N.A., successor by

merger to BAC Home Loans Servicing, L.P. f/k/a Home Loans

Servicing Inc.      ( "BANA'') for judgment on the pleadings. The court,

having considered the motions, the responses of plaintiffs,

Daryle Ray Perez       ("Daryle") and Melisa Perez ("Melisa"), the

replies, the record, and applicable authorities, finds that the

motions should be granted.
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                                                  I.

                                    Plaintiffs' Claims

       On October 16, 2017, plaintiffs filed their complaint in

this action. Doc. 1 1. Plaintiffs allege:

       Plaintiffs purchased their home at 907 Lasso Lane,

Mansfield, Texas, in 2006. Doc. 1 ,                      9. Daryle lost his job and

plaintiffs missed several mortgage payments. Melisa filed a

voluntary petition for relief under Chapter 13 of the United

States Bankruptcy Code on February 1, 2009. Id. , 10. Plaintiffs

missed one post-petition mortgage payment and Home Loan Services,

Inc.   ( "HLS"), the servicer at the time, filed a motion for relief

alleging that three post-petition payments were delinquent. Id.

, 11. The parties resolved the motion through an agreed order

allowing plaintiffs to cure the delinquency. Id. , 12. The order

correctly stated the amount due but incorrectly stated that the

default was for three payments rather than one. Plaintiffs cured

the default. Id. , 13. HLS issued a certificate of default on

March 29, 2010. Id. ,             14. During Melisa's bankruptcy, in or

around December 2010, servicing of the loan was transferred from

HLS to BANA. Id. , 16. Plaintiffs made the first two

contractually due payments to BANA, which it received but did not

credit to the account. Id. , 18. BANA began saying that


       'The "Doc.   "reference is to the number of the item on the docket in this action.

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plaintiffs were delinquent two payments. Id. ,                  19. BANA purchased

a force-placed insurance policy charged to plaintiffs because it

believed the loan to be delinquent. Id. , 21. SLS acquired the

loan on or about May 30, 2014. Id. , 24. Melisa received a

discharge on July 10, 2014, although post-petition arrearages

were alleged to be $96,354.39 as of June 25, 2014. Id. , 26. In

June 2015, SLS began sending default notices to plaintiffs. Id.

, 27. Daryle filed a Chapter 13 bankruptcy case on June 1, 2015.

Id. , 28. On November 25, 2015, SLS filed a motion for relief in

Daryle's case alleging that three post-petition payments had been

missed. A notice of termination of stay was filed March 15 2015.

Id. ,       29. Plaintiffs' counsel sent a letter and qualified written

request for documents to SLS through its bankruptcy counsel on

March 17, 2016. Id. , 30.

        Plaintiffs assert causes of action for violation of

Regulation X2 of the Real Estate Settlement Procedures Act,                    12

U.S.C.        §§   2601-17,       ("RESPA"), violation of Regulation Z3 of the

Truth In Lending Act, 15 U.S.C.               §§   1601-1666j   ("TILA"), violation

of the Fair Debt Collection Practices Act, 15 U.S.C.                  §§   1692-

1692p ("FDCPA"), breach of contract, and violation of the Texas

Debt Collection Practices Act, Tex. Fin. Code ch. 392                   ("TDCPA").


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            12 C.F.R. pt. 1024.
        3
            12 C.F.R. pt. 1026.

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                                   II.

                        Grounds of the Motions

        Deutsche Bank and SLS urge that they are entitled to

judgment on the pleadings and that plaintiffs' claims must be

dismissed because:    (1) plaintiffs are judicially estopped from

asserting their claims;    (2) plaintiffs' RES PA claim fails because

plaintiffs never sent a "qualified written request" and because

they have no actual damages;     (3) plaintiffs allege no facts to

support a TILA claim;    (4) plaintiffs have not alleged any debt

collection activity under the FDCPA;       (5) plaintiffs do not allege

facts to support a breach of contract claim and, in any event,

have breached the contract themselves; and (6) plaintiffs have

not alleged any facts to support a claim under the TDCA. Doc. 39.

        BANA says that it is entitled to judgment on the pleadings

and that plaintiffs' claims against it must be dismissed because:

(1) plaintiffs' claims are barred by judicial estoppel;          (2)

plaintiffs' claims are barred by limitations; and,          (3) plaintiffs

lack standing to assert the claims alleged. Doc. 35. BANA's brief

includes additional grounds, but there is no need to discuss them

here.

        In response to the motion of Deutsche Bank and SLS,

plaintiffs have filed a four-paragraph response. Doc. 45. Their

response to BANA's motion consists of eight paragraphs. Doc. 46.


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They do not cite to the complaint or to any legal authorities to

support the arguments they make.

                                   III.

                      Applicable Legal Standards

     Rule 12(c) of the Federal Rules of Civil Procedure permits a

party to move for judgment on the pleadings after the pleadings

are closed but early enough not to delay trial. A motion for

judgment on the pleadings "is designed to dispose of cases where

the material facts are not in dispute and a judgment on the

merits can be rendered by looking to the substance of the

pleadings and any judicially noticed facts." Hebert Abstract Co.

v. Touchstone Props., Ltd.,     914 F.2d 74, 76     (5th Cir. 1990). Such

a motion is reviewed under the same standard as a motion to

dismiss pursuant to Fed. R. Civ. P. 12(b) (6)       for failure to state

a claim upon which relief may be granted, that is, whether the

complaint provides enough facts to state a claim to relief that

is plausible on its face. Jebaco, Inc. v. Harrah's Operating Co.,

587 F.3d 314, 318 (5th Cir. 2009); Doe v. MySpace, Inc., 528 F.3d

413, 418   (5th Cir. 2008).

     Rule 8 (a) ( 2) of the Federal Rules of Civil Procedure

provides, in a general way,     the applicable standard or pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"


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Fed. R. Civ. P. S(a) (2),      •in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)          (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Igbal,

556 U.S. 662,   679   (2009)   ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.").

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Igbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.


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"Determining whether a complaint states a plausible claim for

relief .         [is] a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense."    Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of

Housing & Urban Dev., 554 F.3d 525, 528       (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint

must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29. Further,

the complaint must specify the acts of the defendants

individually, not collectively, to meet the pleading standards of

Rule 8(a). See Griggs v. State Farm Lloyds, 181 F.3d 694, 699

(5th Cir. 1999); see also Searcy v. Knight (In re Am. Int'l

Refinery), 402 B.R. 728, 738 (Bankr. W.D. La. 2008).

     In considering a motion to dismiss or for judgment on the

pleadings, the court may consider documents attached to the

motion if they are referred to in the plaintiff's complaint and

are central to the plaintiff's claims. Scanlan v. Tex. A&M Univ.,


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343 F.3d 533, 536      (5th Cir. 2003). The court may also refer to

matters of public record. Davis v. Bayless, 70 F.3d 367, 372 n.3

(5th Cir. 1995); Cinel v. Connick,             15 F.3d 1338, 1343 n.6    (5th

Cir. 1994). This includes taking notice of pending judicial

proceedings. Patterson v. Mobil Oil Corp.,             335 F.3d 476,    481 n.l

(5th Cir. 2003). And,       it includes taking notice of governmental

websites. Kitty Hawk Aircargo,           Inc. v. Chao, 418 F.3d 453, 457

(5th Cir. 2005); Coleman v. Dretke, 409 F.3d 665,             667   (5th Cir.

2005).

                                         IV.

                                       Analysis

A.     Facts Pertinent to the Motions

        In 2006, plaintiffs obtained a loan from First Franklin to

purchase a home. Doc. 1 ,        9. The loan was secured by a deed of

trust. Doc. 37, Ex. A. On May 10, 2007, the note and deed of

trust were assigned to Deutsche Bank. Id., Ex. B. The loan was

serviced by HLS, which was subsequently merged into BANA. Doc. 1

, , 11, 16. SLS acquired the loan and became the servicer on or

about May 30, 2014.      Id. ,   24.

       In 2008 Daryle lost his job and plaintiffs missed several

mortgage payments. Doc. 1 ,        10. On February 1, 2009, Melisa filed

a Chapter 13 petition in the United States Bankruptcy Court for

the Northern District of Texas, Fort Worth Division. Doc. 37, Ex.


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C. During the course of the bankruptcy, plaintiffs missed a

payment. Doc. 1 , 11. HLS filed a proof of claim calculating the

total arrearage amount to be cured in the plan to be $16,710.34.

Doc. 37, Ex. D. On or about August 3, 2009, HLS filed a motion

for relief from stay, alleging that plaintiffs had failed to pay

three post-petition payments. Doc. 1, Ex. B. The parties resolved

the matter by agreeing to an order conditioning automatic stay

pursuant to which plaintiffs would cure their default by making

certain periodic payments. Id., Ex. C. On March 29, 2010, HLS

issued a certificate of default, alleging that plaintiffs had

failed to timely make the March 2010 payment. Doc. 1 , 14.

Plaintiffs say that they made the payment timely and the check

cleared their account. Id. , 15. During the pendency of the

bankruptcy, HLS transferred its claim to SLS. Doc. 37, Ex. F. On

July 10, 2014, Melisa received an order discharging debtor after

completion of Chapter 13 plan. Id., Ex. G.

     On June 1, 2015, Daryle filed a voluntary petition under

Chapter 13 in the United States Bankruptcy Court for the Northern

District of Texas, Fort Worth Division. Doc. 37, Ex. H. Daryle

did not list BANA as a creditor; nor did he identify any claims

or causes of action against BANA. Id. Daryle identified SLS as

the creditor on his homestead mortgage loan. Doc. 41, Ex. B at

App 0013. Daryle did not identify any claims or causes of action


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against SLS or Deutsche Bank. Id., Ex. B. On November 25, 2015,

SLS filed a motion for relief from stay, alleging that plaintiffs

had missed three post-petition payments. Id., Ex. Cat App 0032.

In response, Daryle said he was without sufficient knowledge or

information to form a belief as to the truth of the allegation.

Id., Ex. D. The parties entered into an agreed order conditioning

stay, pursuant to which post-petition arrearages and attorney's

fees and costs were to be paid. Id., Ex. E. On March 15, 2016,

SLS filed a certificate of default stating that the required

payments had not been made. Id., Ex. F. On April 27, 2016, the

bankruptcy court entered a default order granting relief from

stay to allow foreclosure of the lien. Id., Ex G. On June 1,

2016, the bankruptcy trustee gave notice of intent to certify the

case for dismissal because Daryle had failed to pay the trustee.

Id., Ex. H. By order signed March 6, 2017, Daryle's bankruptcy

proceeding was dismissed. Id., Ex. I.

     On October 16, 2017, plaintiffs filed their complaint in

this action. Doc. 1. SLS gave notice that it intended to

foreclose the lien against the property on November 4, 2017, and

plaintiffs filed a motion for temporary restraining order in

response. Doc. 6. That motion was denied by order signed November

2, 2017. Doc. 7. Plaintiffs again sought a temporary restraining

order, Doc. 8, which the court again denied. Doc. 9.


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B.      Judicial Estoppel

        Defendants each allege that plaintiffs are judicially

estopped from pursuing the claims asserted in this action.

Judicial estoppel is equitable in nature and is invoked by a

court to prevent a party from asserting a position in a legal

proceeding that is inconsistent with a position taken in a

previous proceeding. Reed v. City of Arlington, 650 F.3d 571,

573-74     (5th Cir. 2011) (en bane). Application of judicial estoppel

is particularly appropriate where a party's position in

bankruptcy court is subsequently contradicted in a later civil

action. Jethroe v. Omnova Solutions, Inc., 412 F.3d 598, 600               (5th

Cir. 2005). As the Fifth Circuit has noted, the integrity of the

bankruptcy system depends on full and honest disclosure by

debtors of all of their assets and liabilities. Love v. Tyson

Foods. Inc., 677 F.3d 258, 261 (5th Cir. 2012).

        Here, the record establishes that Melisa admitted that she

was delinquent on three post-petition payments and agreed to the

order resolving the delinquency. She made payments pursuant to

the agreed order and ultimately received her discharge. In this

case, plaintiffs now allege that they were not delinquent on the

three post-petition payments, a position contrary to what the

agreed order reflects. Likewise, in Daryle's bankruptcy

proceeding, he acknowledged that certain amounts were due and


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owing and he agreed to pay those amounts. Now, he is taking a

contrary position and saying that certain payments were actually

made but not properly credited.

         The court further takes judicial notice that neither Melisa

nor Daryle identified in the bankruptcy filings that they had any

claims or potential claims against any of the defendants. The

claims were certainly known to them at the time each of them

filed bankruptcy petitions. They should not now be allowed to

take a contrary position. Love, 677 F.3d at 261-62.

C.      Limitations

        Plaintiffs admit that all of their claims arise out of

events that allegedly occurred in 2009 and 2010. The statute of

limitations for RESPA is either one or three years. Haase v.

Countrywide Home Loans,       Inc., 748 F.3d 624,      629   (5th Cir. 2014);

Val-Com Acquisitions Tr. v. Chase Home Fin. LLC, No. 3:10-CV-

1075-L, 2010 WL 4283906, at *3         (N.D. Tex. Oct. 28, 2010), aff'd,

434 F. App'x 395      (5th Cir. 2011). The statute of limitations for

a TILA claim is one year, Val-Com,          2010 WL 4283906, at *3, as is

the limitations period for an FDCPA claim. 15 U.S.C.              §   1692k(d).

The limitations period for a TDCA claim is two years. Duzich v.

Marine Office of Am. Corp.,        980 S.W.2d 857,     872   (Tex. App.--

Corpus Christi 1998, pet. denied). And, the limitations period

for breach of contract is four years. Stine v. Stewart, 80 S.W.3d


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586, 592     (Tex. 2002). Generally, a claim accrues when a violation

occurs and the defendant must have actively misled the plaintiff

or otherwise concealed its conduct in order for tolling to apply.

See, e.g., Stevens v. Wells Fargo Bank, N.A., No. 4:12-CV-594-A,

2012 WL 5951087, at *5 (N.D. Tex. Nov. 27, 2012); Val-Com, 2010

WL 4283906, at *3; 15 U.S.C.        §   1604(e); Kerlin v. Sauceda, 263

S.W.3d 920 925-26 (Tex. 2008).

        Here, plaintiffs readily admit that their alleged claims

accrued nearly ten years ago. They do not allege any facts that

would justify the application of equitable tolling on any of

their claims. Jones v. Alcoa, Inc., 339 F.3d 359, 366 (5th Cir.

2003) (limitations may support dismissal of a claim where the

pleadings fail to raise any basis for tolling) .

D.      Other Reasons the Claims Fail

        As defendants note, and plaintiffs do not dispute, the

complaint contains little more than conclusory allegations with

regard to each of their claims. For example, no facts are alleged

to support any claims against Deutsche Bank, which is randomly

mentioned only a few times in the complaint. See, e.g., Doc. 1

~~    27, 48, 77. No facts are alleged to support a RESPA or TILA

claim. The only written notice plaintiffs allege was given was by

demand letter from their attorney addressed to BANA's attorney in

March 2016. Doc. 1, Ex. H. Even assuming such a demand qualified


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as a request, plaintiffs do not allege any facts from which the

court could conclude that they suffered any loss or damage as a

result of any failure to respond to any written request. See

Whittier v. Ocwen Loan Servicing, L.L.C., 594 F. App'x 833, 836-

37 (5th Cir. 2014) (there must be actual damages to support a

RESPA claim; litigation fees and expenses are not damages under

RESPA).   Likewise, the remainder of the claims are unsupported

and not plausible based on the record.

     The court further notes that even had plaintiffs adequately

pleaded breach of contract, they themselves admit that they long

ago breached the contract. As parties in default, they cannot

maintain a breach of contract claim. Richardson v. Wells Fargo

Bank, N.A., 873 F. Supp. 2d 800, 809 (N.D. Tex. 2012), aff'd, 538

F. App'X 391 (5th Cir. 2013).

                                    v.
                                  Order

     The court ORDERS that defendants' motions for judgment on

the pleadings be, and are hereby, granted; that plaintiffs take

nothing on their claims against defendants; and that such claims
                                                    /
be, and are hereby, dismissed with
                                   pre7e.
     SIGNED October 5, 2018.
